              DISTRICT COURT OF APPEAL OF FLORIDA
                        SECOND DISTRICT

                         DESIREE ALIZE PABON,

                                 Appellant,

                                      v.

                           STATE OF FLORIDA,

                                  Appellee.

                             No. 2D2022-4181


                              August 21, 2024

Appeal from the County Court for Hillsborough County; Margaret R.
Taylor, Judge.

Howard L. Dimmig, II, Public Defender, and Clark E. Green, Assistant
Public Defender, Bartow, for Appellant.

Ashley Moody, Attorney General, Tallahassee, and Jonathan P. Hurley,
Senior Assistant Attorney General, Tampa, for Appellee.


PER CURIAM.

      Affirmed.

KELLY, ROTHSTEIN-YOUAKIM, and LABRIT, JJ., Concur.


Opinion subject to revision prior to official publication.
